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 7                                UNITED STATES DISTRICT COURT
 8                                    EASTERN DISTRICT OF CALIFORNIA
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11       UNITED STATES OF AMERICA,                              CASE NO. 1:10-CR-000323-(3)-LJO

12                                 Plaintiff,

13             v.                                               MEMORANDUM DECISION AND ORDER
                                                                DENYING DEFENDANT’S MOTION TO
14       DONACIANO ROSALES-MAGANA,                              REDUCE SENTENCE UNDER U.S.S.G.
                                                                AMENDMENT 782
15                                 Defendant.

16
                                                                (Doc. 101)
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20           Before the Court is Defendant Donaciano Rosales-Magana’s pro se motion to reduce his

21   sentence (Doc. 101), under section 1B1.10(b)(1) of the United States Sentencing Guidelines

22   (“U.S.S.G”) and Amendment 782 (“the Amendment”) to the U.S.S.G.,1 which revised the Drug

23   Quantity Table in § 2D1.1 and reduced by two levels the offense level applicable to many drug

24   trafficking offenses. The Government has opposed the instant motion on the basis that the

25   Defendant is not eligible for a reduction under § 1B1.10 (Doc. 107), and Defendant filed a reply

26   (Doc. 109). The Office of the Federal Defender filed notice that it did not recommend appointment

27   of counsel in this case. See Doc. 105. Upon a thorough review of the parties’ briefing, the record in

28   1
      Hereinafter, all references to sections (§) refer to the United States Sentencing Commission, Guidelines Manual (“the
     Guidelines”) unless otherwise indicated.
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 1   the case including the Probation Office’s Presentence Report (“PSR”)2, and the relevant law, the

 2   Court will deny the motion.

 3   I.       BACKGROUND

 4            On August 18, 2011, Defendant pleaded guilty to count 1 of a two-count Indictment for

 5   violation of sections 846, 841(a)(1), and 841(b)(1)(A) of Title 21 of the U.S. Code, conspiracy to

 6   distribute methamphetamine. Doc 73; PSR ¶ 1.

 7            Defendant’s PSR recommended a total offense level of 35. PSR ¶ 31. The applicable

 8   guideline for Defendant’s offense is § 2D1.1, which predicates the base offense level upon the

 9   amount of drugs involved in the case. Under the version of § 2D1.1 applicable at the time the PSR

10   was prepared, 1.5 kilograms of actual methamphetamine was the threshold amount required to

11   trigger a base offense level of 38. See U.S.S.G. § 2D1.1(c) (2011). Thus, because Defendant’s

12   offense involved 4.2 kilograms of actual methamphetamine, the PSR determined his base offense

13   level to be 38. PSR ¶ 19. Pursuant to §§ 3E1.1(a) and (b), Defendant’s acceptance of responsibility

14   warranted a three-level reduction, for an adjusted total offense level of 35. Id. at ¶¶ 25-27. At a total

15   offense level of 35, with a criminal history category of II, the Guidelines range was 188 to 235

16   months of imprisonment. Id. at 14. In light of Defendant’s personal characteristics and history, the

17   PSR recommended a sentence of 188 months of imprisonment, at the low end of the Guidelines

18   range.

19            Before Defendant was sentenced, his previous attorney filed a sentencing memorandum

20   requesting that the Court depart from the PSR’s recommendation and impose a 135-month term of

21   imprisonment on Defendant. Doc. 93. The reasons cited for this request included that Defendant was

22   raised under difficult financial conditions in Mexico without the benefit of a father in his household,

23   has assumed the responsibility of financially supporting his one biological child and several step-

24   children, has maintained steady employment throughout his adult life, and his relatively minimal

25   prior criminal history. Id. at 2. The memorandum further noted that were it not for the fact that

26   Defendant was on unsupervised probation for a misdemeanor violation at the time of his 2008

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      At the time Defendant was sentenced, the practice of the United States Probation Officer was typically not to file PSRs
28   on the docket. Thus, for purposes of the instant motion, the Court obtained the PSR from the United States Probation
     Office.
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 1   conviction for driving under the influence of alcohol, he would have been eligible for the “safety

 2   valve” and qualified for an advisory guideline range of 135-168 months. Id.

 3           On December 12, 2011, this Court sentenced Defendant to a term of 150 months

 4   imprisonment, below the minimum of the Guidelines range recommended by the PSR. See Doc. 94.

 5   II.     LEGAL STANDARD

 6           “A federal court generally ‘may not modify a term of imprisonment once it has been

 7   imposed.’” Dillon v. United States, 560 U.S. 817, 819 (2010) (quoting 18 U.S.C. § 3582(c)).

 8   However, a federal sentencing court is authorized to modify an imposed sentence when the relevant

 9   sentencing range was lowered subsequent to a defendant’s original sentence. 18 U.S.C. § 3582(c)(2);

10   see United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013) (a district court may do so “in the

11   case of a defendant who has been sentenced to a term of imprisonment based on a sentencing range

12   that has subsequently been lowered by the Sentencing Commission.”). Effective November 1, 2014,

13   the Commission promulgated Amendment 782, which generally revised the Drug Quantity Table

14   and chemical quantity tables across drug and chemical types. The Commission also voted to make

15   the Amendment retroactively applicable to previously sentenced defendants. United States v.

16   Navarro, 800 F.3d 1104, 1107 (9th Cir. 2015). “[T]he only ‘appropriate use’ of sentence

17   modification proceedings under section 3582(c) is to adjust a sentence in light of a Guidelines

18   amendment,” so courts may not use such proceedings “as a ‘full resentencing’ that reconsiders a

19   sentence based on factors unrelated to a retroactive Guidelines amendment.” United States v. Fox,

20   631 F.3d 1128, 1132 (9th Cir. 2011).

21   III.    DISCUSSION

22           By his motion, Defendant requests a reduction in his sentence under Amendment 782,

23   enumerated in U.S.S.G. § 1B1.10(d). Specifically, Defendant notes that at the time of his original

24   sentencing, the Court exercised a downward departure of 38 months from 188 months to 150

25   months, and asks that the Court now grant him 38-month departure from 150 months to 113 months

26   because Amendment 782 has modified the Guidelines range applicable at the time he was sentenced.

27   Doc. 101.

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 1          Determining whether a sentence reduction is appropriate under § 3582(c)(2) “requires a two-

 2   step inquiry.” Dunn, 728 F.3d at 1155. At step one, “a district court must determine whether a

 3   prisoner is eligible for a sentence modification under the Commission's policy statement in U.S.S.G.

 4   § 1B1.10.” Id. That policy statement enumerates a list of amendments to the Guidelines which have

 5   lowered the sentencing ranges for certain offenses. See U.S.S.G. § 1B1.10(d). In the event that one

 6   of the enumerated amendments has lowered a guideline range applicable to a defendant, the district

 7   court “shall determine the amended guideline range that would have been applicable to the defendant

 8   if the amendment(s) … had been in effect at the time the defendant was sentenced.” U.S.S.G.

 9   § 1B1.10(b)(1).

10          If the answer to step one is that the defendant is eligible for a reduced sentence, the district

11   court turns to step two of the inquiry, where the court “must consider any applicable § 3553(a)

12   factors and determine whether, in its discretion, the reduction authorized by reference to the policies

13   relevant at step one is warranted in whole or in part under the particular circumstances of the case.”

14   Dunn, 728 F.3d at 1155 (internal quotation marks and citation omitted). The § 3553(a) factors

15   include: “the nature and circumstances of the offense and the history and characteristics of the

16   defendant; the purposes of sentencing; the kinds of sentences available; the sentences and ranges

17   established by the Guidelines; relevant policy statements issued by the Sentencing Commission; the

18   need to avoid unwarranted sentencing disparities among similarly situated defendants; and the need

19   to provide restitution to victims.” Id. at 1158 (internal quotation marks and citation omitted).

20          Here, Defendant does not dispute that he received a downward variance at sentencing when

21   the Court imposed a below-Guidelines sentence of 150 months, 38 months less than the PSR’s

22   recommendation of 188 months. See Doc. 101. In his reply to the Government’s opposition, he

23   argues that the Court “has authority to reduce his sentence comparable to the same way it did at his

24   original sentencing,” and asks that the Court take into consideration “the very same reasons it used

25   to vary downward of his original guideline and recalculate the same here after amendment 782.”

26   Doc. 109 at 2. However, Defendant’s argument is squarely foreclosed by § 1B1.10(b)(2)(A), which

27   provides that the Court may not reduce a defendant’s term of imprisonment to a term less than the

28   minimum of the amended Guidelines range. See United States v. Davis, 739 F.3d 1222, 1224 (9th
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 1   Cir. 2014). Although it is accurate that under the Amendment, the adjusted drug quantity table

 2   reduces Defendant’s base offense level from 38 to 36, Defendant misapprehends the effect on the

 3   Court’s authority to reduce his below-guideline sentence. The practical effect of Amendment 782 is

 4   an adjusted range of 151 to 188 months. Defendant’s original sentence of 150 months is still less

 5   than the amended range of 151 to 188 months. As a result, the Court lacks authority to reduce further

 6   Defendant’s sentence. See id. at 1225-26 (§ 3582(c) proceedings have a “narrow scope” and are not

 7   intended to be plenary re-sentencings).

 8            The Court therefore finds that Defendant is not eligible for a sentence reduction under

 9   § 3582(c) because the Court previously imposed a sentence below the amended guidelines range.

10   See id. To the extent that Defendant asks the Court to reduce his sentence based on the § 3553(a)

11   factors considered at step two, the Court declines. As Defendant not eligible for a sentence

12   reduction, the Court may not proceed to the second half of the two-part inquiry set forth in Dillon.

13   See Dunn, 728 F.3d at 1155.

14   IV.      CONCLUSION AND ORDER

15            For the foregoing reasons, IT IS HEREBY ORDERED that Defendant Donaciano Rosales

16   Magana’s motion to reduce his sentence (Doc. 101) is DENIED, pursuant to 18 U.S.C. § 3582(c)(2).

17   The Clerk of Court is DIRECTED to TERMINATE the Defendant and CLOSE THE CASE.

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     IT IS SO ORDERED.
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20         Dated:   January 29, 2016                         /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
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